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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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 IN RE:                                                            :   CASE NO.: 17-74291-las
                                                                   :
 Shazia P. Rizwan                                                  :   CHAPTER: 7
                                                                   :
 Debtor(s)                                                         :   HON. JUDGE.:
                                                                   :   LOUIS A. SCARCELLA
                                                                   :
                                                                   :
                                                                       HEARING DATE:
                                                                   :
                                                                       OCTOBER 19, 2017 @ 10:00 AM
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                           MOTION FOR RELIEF FROM THE
                      AUTOMATIC STAY REGARDING REAL PROPERTY

        Fay Servicing LLC as servicer for U.S. ROF II Legal Title Trust 2015-1, by U.S. Bank
National Association, as Legal Title Trustee (“Movant”) hereby moves this Court, pursuant to 11
U.S.C. 362(d)(1), for relief from the automatic stay with respect to certain real property of the
Debtor having an address of 15 Yellow Top Lane, Smithtown, New York 11787 a/k/a 17763, (the
“Property”), for all purposes allowed by law, the Note (defined below), the Mortgage (defined
below), and applicable law, including but not limited to the right to foreclose. In further support
of this Motion, Movant respectfully states:


                                              FACTUAL HISTORY
          1.     A Petition under Chapter 7 of the United States Bankruptcy Code was filed with
respect to the Debtor on July 17, 2017.
         2.      The Debtor has executed and delivered or is otherwise obligated with respect to
that certain promissory note in the original principal amount of $668,000.00 (the “Note”). A copy
of the Note is attached hereto as Exhibit A.
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        3.     Pursuant to the certain Mortgage (the “Mortgage”), all obligations (collectively,
the “Obligations”) of the Debtor under and with respect to the Note and Mortgage are secured by
the Property. A copy of the Mortgage is attached hereto as Exhibit B.
        4.     All rights and remedies under the Mortgage have been assigned to the Movant
pursuant to that certain assignment of Mortgage, a copy of which is attached hereto as Exhibit
C.
        5.     In addition to the other amounts due to Movant reflected in this Motion, as of the
date hereof, in connection with seeking the relief requested in this Motion, Movant has also
incurred $750.00 in legal fees and $181.00 in filing costs.


                                       LEGAL ARGUMENT
       6. Pursuant to 11 U.S.C. §362 (d), the court shall enter an order granting a secured
creditor relief from the automatic stay where the debtor does not have equity in the property and
the property in question is not necessary to an effective reorganization (See §362 (d)(2)(A)).
       7.      As of August 25, 2017, the outstanding amount of the Obligations less any partial
payments or suspense balance is $943,560.66, as shown in Exhibit D. A Broker Price Opinion
(“BPO”) was conducted on the Property on March 30, 2017 and a value of $799,000.00 was
returned. A copy of the BPO is attached hereto as Exhibit E. Therefore, it is self-evident that the
debtor lacks any equity in the subject property and the first prong of 11. U.S.C.(d)(2)(A) has
been satisfied. See In Re Matter of Cardell, 88 B.R. 627, 631-32 (Bankr. N.J. 1988).
       8.      Pursuant to 11 U.S.C. 362(g)(2), the party opposing relief under 11 U.S.C. 362(d)
has the burden of proof on all other issues save that of the debtor's equity in the property
including whether a plan of reorganization is likely to be confirmed. As of the date of this motion
the debtor has failed to make any showing that the property is required for reorganization under
the Bankruptcy code. As the burden imposed upon the debtor by 11 USC 362(d)(2)(B) has not
been met an order should be entered granting the movant relief from stay.
       9.      Oral argument is waived.


WHEREFORE, Movant prays that this Court issue an Order terminating or modifying the stay
and granting the following:
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         1.   Relief from the stay for all purposes allowed by law, the Note, the Mortgage and
applicable law, including but not limited to allowing Movant and any successor or assigns to
proceed under applicable non-bankruptcy law to enforce its remedies to foreclose upon and
obtain possession of the Property.
         2.   That the Order be binding and effective despite any conversion of this bankruptcy
case to another case under any other chapter of Title 11 of the United States Code.
         3.   Permitting Movant to offer and provide Debtors with information regarding a
potential Forbearance Agreement, short sale, deed in lieu, loan modification, Refinance
Agreement, or other loan workout/loss mitigation agreement, and to enter into such agreement
with Debtors without further order of the court.
         4.   For such other relief as the Court deems proper.




Dated: New York, NY
      August 30, 2017

                                                    By: /s/ Adam J. Friedman
                                                    Adam J. Friedman, Esq.
                                                    FRIEDMAN VARTOLO LLP
                                                    Attorneys for Fay Servicing LLC as servicer
                                                    for U.S. ROF II Legal Title Trust 2015-1, by
                                                    U.S. Bank National Association, as Legal
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